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               IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TEXAS
                         SHERMAN DIVISION
 RANDALL WAYNE MAYS                   §
                                      §
 V.                                   §           NO. 6:11cv135
                                      §
 RICK THALER,                         §
 DIRECTOR                             §


                PETITIONER, RANDALL WAYNE MAYS’
               PETITION FOR WRIT OF HABEAS CORPUS




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                                    March 3, 2012
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       COMES NOW, Randall Wayne Mays, currently confined on death row in the

 Texas Department of Criminal Justice, Institutional Division, who petitions this

 Honorable Court, pursuant to 28 U.S.C. sec. 2254, et seq., to issue a writ of habeas

 corpus ordering that his sentence of death be vacated. In support whereof, Mr. Mays

 would show this Court as follows:
                                            I.
                                  INTRODUCTION

       At the essence of Mr. Mays’ complaints is that he is a severely mentally ill
 individual, both now, in his youth, and during the occurrence of the shooting. His trial

 counsel made an effort to convince the jury that this was mitigating, but fell short of
 the mark by failing to assure that the evidence was properly investigated, presented,

 and that the jury was give the proper tools and instructions to give weight to the
 mitigating evidence. Further, society’s evolving views of executing those with

 undeveloped or damaged brains, as reflected in Simmons and Atkins, mandate a

 finding that execution of a person laboring under such severe mental illness as Mr.

 Mays is a violation of the Eighth Amendment.
                                           II.

                             PROCEDURAL HISTORY

       Mr. Mays was indicted by a Henderson County Grand Jury for the offense of

 capital murder, alleged to have occurred on May 17, 2007. Mr. Mays was convicted

 and sentenced to death almost a year later on May 13, 2008.
       An automatic appeal followed, and on April 28, 2010, the the Texas Court of


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 Criminal Appeals affirmed the conviction and death sentence. Mays v. State, 318

 S.W.3d 368 (Tex. Crim. App. 2010). A petition for writ of certiorari was filed with

 the United States Supreme Court, which was denied on March 7, 2011. Mays v.

 Texas, No. 10-8172 (3-7-11).

       State post-conviction proceedings were conducted and relief was denied on

 March 16, 2011. The opinion of the Texas Court of Criminal Appeals is unpublished,

 reported as Ex parte Randall Wayne Mays, 2011 Tex. Crim. App. Unpub. LEXIS 190

 (Tex. Crim. App. March 16, 2011). A petition for writ of certiorari was filed with the

 United States Supreme Court, which was denied on October 17, 2011. Mays v. Texas,

 No. 10-11097 (10-17-11).
                                          III.

                             STANDARD OF REVIEW

       This case is governed by the Antiterrorism and Effective Death Penalty Act
 (“AEDPA”). Under AEDPA, a federal court may not grant habeas relief after an

 adjudication on the merits in a state court proceeding unless the adjudication of the
 claim (1) “resulted in a decision that was contrary to, or involved an unreasonable

 application of, clearly established Federal law, as determined by the Supreme Court

 of the United States” or (2) “resulted in a decision that was based on an unreasonable
 determination of the facts in light of the evidence presented in the State court

 proceeding.” 28 U.S.C. § 2254(d).
       The Supreme Court has “made clear that the ‘unreasonable application’ prong

 of § 2254(d)(1) permits a federal habeas court to grant the writ if the state court


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 identifies the correct governing legal principle from this Court’s decisions but

 unreasonably applies that principle to the facts of petitioner’s case.” Wiggins v. Smith,

 539 U.S. 510, 520 (2003) (quotations omitted). “In other words, a federal court may

 grant relief when a state court has misapplied a governing legal principle to a set of

 facts different from those of the case in which the principle was announced.” Id.

 However, “[t]he question under AEDPA is not whether a federal court believes the

 state court’s determination was incorrect, but whether that determination was

 unreasonable – a substantially higher threshold.” Schriro v. Landrigan, 550 U.S. 465,

 473 (2007). Under § 2254(d)(2), “a federal habeas court must find the state-court
 conclusion ‘an unreasonable determination of the facts in light of the evidence

 presented in the State court proceeding.’” Rice v. Collins, 546 U.S. 333, 338 (2006).

 “State-court factual findings, moreover, are presumed correct; the petitioner has the
 burden of rebutting the presumption by ‘clear and convincing evidence.’ §

 2254(e)(1).” Id. at 338–39.

        Finally, where the state court did not decide the case on the merits, despite

 being offered an opportunity to do so, the AEDPA is inapplicable, and a de novo

 standard is appropriate.1




        1
               28 U.S.C. § 2254(d); Reed v. Quarterman, 555 F.3d 364, 369-70 (5th Cir. 2009):
 Rosales v. Dretke, 444 F.3d 703, 707 (5th Cir. 2006).

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                                               V.

                                STATEMENT OF FACTS
        A.     Introduction

        Randall Wayne Mays, a person who had struggled with serious mental illness

 most of his life, was involved in a standoff with police on May 17, 2007. On the day
 of the incident, a neighbor summoned the police to the Mays’ residence. Mr. Mays,

 who had been arguing with his wife about her claim that she had been sexually

 assaulted, believed the police were there to help his wife and readily spoke with the
 officers when they arrived. However, when one of the police officers started reading
 Mr. Mays his rights, he snapped. He ran into his home where he barricaded himself.

 During conversations with the officers outside, Mr. Mays incoherently jabbered about
 being poisoned. He left the house unarmed at one point, but after an officer tried to
 come up behind him he ran back inside and ultimately shot three police officers,

 killing two. Expert testimony concluded that if not for his mental illness, Mr. Mays
 would likely have not committed this act.
        B.     The Prosecution’s Case at the Guilt Phase

        At about 3:30 pm on May 17, 2007, Deputies Billy Jack Valentine, Duane

 Sanders and Eric Ward of the Henderson County Sheriff’s Department responded to
 a domestic disturbance call at the Mays’ residence. (26:8-9).2 On his way there,

 Deputy Valentine requested a criminal history of Mr. Mays, recalling that he had

 physically fought Mr. Mays during an off-duty arrest years earlier, an incident for

        2
               Numbers in parentheses refer to the transcript of record consisting of 34 volumes,
 with each volume separately paginated.

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 which the charges were ultimately dismissed. (26:11). Once they arrived, the

 officers, climbed the pipe fence separating the property from the road, and approached
 Mr. Mays and his wife, Candis Mays, who were standing in the front yard outside

 their home. (26:10). Candis angrily told the officers to leave because they had no

 right to be on the property. (25:232; 26:14). Mr. Mays explained that he and Candis
 were fighting over her revelation that three men had sexually assaulted her. (26:14).



       Deputy Valentine, unsure who had called the police, contacted the dispatcher,
 who said that a neighbor had called 911. (26:18). Deputy Valentine sent Deputy
 Sanders to the neighbor to investigate, and Sanders soon reported that the neighbor

 wished to press charges. (26:19, 22-23; 25:238-39). Deputy Valentine then turned
 to Mr. Mays and, without explanation, read him his rights. (26:24). Mr. Mays ran
 towards his house. Deputy Valentine ripped Mr. Mays’ shirt in a failed attempt to

 stop his retreat. (26:24-25). A few seconds later, Mr. Mays emerged from the house
 holding a deer rifle, telling the officers to “back off.” (26:27-28). Mr. Mays, not

 firing his rifle, retreated back into the house, with Deputy Valentine warning the other
 officers present that “he’s got a gun.” (25:246; 26:102). Deputy Valentine then ran
 to the side of the house, took cover behind a truck and tried to talk Mr. Mays, seated

 near an open window, into coming back outside. (26:27-29).

       Deputy Sanders, returning from the neighbor’s residence, joined Deputies

 Ward, Ogburn and other officers in a defensive position near the house. (25:241-42).
 The conversation continued between Mr. Mays and the officers, primarily Deputy


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  Valentine, with the officers pleading for Mr. Mays to come outside and surrender, and

  Mr. Mays demanding to know why they tried to arrest him if they were there to help
  his wife.3 Meanwhile, Candis was wandering through the yard, pleading with the
  officers to keep her husband safe, until one officer finally tackled her and dragged her
  out of harm’s way. (26:32,103-04). The officers continued to plead with Mr. Mays,

  who was shouting that they “killed all three of my brothers and want to make it four,”

  that they “jumped my fence, when my wife was needing help,” and that his “wife had
  been raped, so I got mad.” (26:30; SX 65).

        Eventually, Mr. Mays left his house and crawled out of his window unarmed

  to surrender. (26:35-36). At that point, Deputy Valentine came up behind him, and
  Mr. Mays quickly darted head-first through the window back into the house. Deputy
  Valentine tried to stop him, but tripped over a garden hose and ended up against a wall

  to stay out of the line of the fire. (26:38-39). Shortly thereafter, an unidentified noise
  resembling muffled gun fire was heard. (SX 65 at 16:29). Two minutes later Mr.
  Mays shot Deputy Ogburn in the head, then fired at Inspector Habelt. (27:176-78).

  The other officers started firing back, and Mr. Mays and Deputy Kevin Harris

  exchanged gunfire. Mr. Mays hit Deputy Harris in the leg. (27:212-14). Mr. Mays,

  also hit during that exchange, eventually walked out of the house and surrendered.
  (27:182-83,189). In the end, Mr. Mays had shot and killed two deputies.




        3
               See, State’s Exhibit 65 which is a videotape, at 16:12 and 16:24.

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         C.     The Defense Case at the Guilt Phase

         Mr. Mays’ counsel called the instructor for the Intermediate Crisis Intervention

  class that Deputies Valentine, Sanders and Ward had all attended, which taught a
  variety of methods for dealing with a mentally distressed individual in a crisis

  situation, including letting the subject talk himself into a calm state and actively

  listening to find clues as to how to disarm him or convince him to surrender. (28:28-

  29, 31-33). In these crisis scenarios it is a mistake to surround a suspect, though
  “every situation is different.” (28:33-34).

         During summation, defense counsel told the jury: “I know what the verdict is
  going to be, but we just started on this. There's a lot more that you will hear in the next
  part of this trial.” (28:110). After about an hour of deliberation, the jury found Mr.

  Mays guilty of capital murder. (29:119).
         D.     The Penalty Phase

         The State detailed its burden of proving beyond a reasonable doubt the
  probability of Randall Mays’ future dangerousness, and directed the jury to consider

  all of the evidence in determining whether mitigating circumstances warranted a life
  sentence. (30:7-9). The state then presented victim impact evidence regarding the

  effects on survivors of the shootings. (30:10-32).
        The defense focused on presenting evidence to persuade the jury to answer

  “yes” to the issue of whether the mitigating evidence warranted a life sentence,

  expressly declining to address Mr. Mays’ future dangerousness. (31:9). The defense

  called psychiatric witnesses. Dr. Theresa Vail, a state employee, was Mr. Mays’


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  treating psychiatrist at Smith County Jail, five months after his arrest. She diagnosed

  Mr. Mays with severe depression and persistent psychotic disorder “not otherwise
  specified”, characterized by paranoid delusions and auditory hallucinations, and

  prescribed an antidepressant and an antipsychotic medication . (31:19-26). Dr. Vail

  testified that a psychotic disorder “not otherwise specified” means that “Mr. Mays
  doesn’t really fit into the schizophrenia box [or] a bipolar disorder box . . . other than

  he has some delusions and auditory hallucinations.” Dr. Vail described Mr. Mays’

  mental illnesses as possibly linked to permanent brain damage from his chronic
  methamphetamine use.
        Dr. Gilda Kessner, a forensic psychologist told the jury that, although she had

  not personally examined Mr. Mays, her preliminary diagnosis was, “That he suffers
  from a thought disorder, and it can be identified as having a paranoid process, a
  paranoid ideation.” (29:15). As she described it:

         [H]e suffers from paranoid personality disorder, which is pervasive and
        it affects him in all contacts and his relationships and his interactions
        with people, as well as his internal – with himself, his relationship with
        himself and that that was active that day. It's active every day.
  (29:25). Dr. Kessner also explained that Dr. Vail’s diagnosis of psychotic disorder

  “not otherwise specified” means:
        Delusions, hallucinations, disorganized speech, grossly or disorganized
        or catatonic behavior. . . . Someone who is hearing things, maybe having
        visual hallucinations. It can also include other types of hallucinations,
        tactile and olfactory. But that can also be indicative of another disorder.
        So speech that's out of contact with reality.

  (29:18-19). Dr. Kessner further testified regarding his mental illness and its affect on
  him the day of the shooting:

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          “His actions are based on disordered thinking and distorted concept of
          reality.” (29:39). “He was acting under a paranoid ideation. He was not
          under the same contact with reality that you or I might be under.”
          (29:42). “I don’t believe he’s in control of his thought processes.”
          (29:45). “. . . I think his mental illness would affect his ability and
          knowingly do that.” (29:46). “ . . . [C]hoas in his thinking.” (29:48)


          Dr. David Self, an expert forensic psychiatrist compensated by Henderson
  County, agreed that Mr. Mays had a severe and chronic mental illness, based on his

  review of Mr. Mays’ records and interviews with friends and family. Dr. Self opined

  that Mays’ mental illness causally contributed to the events of May 17th, 2007.
  (31:128, 129-133,151). He described how high stress situations could suddenly

  trigger the symptoms of Mr. Mays’ illness. (31:27-28, 138, 156).
          The experts described Mr. Mays’ fixed false belief that he is being poisoned and

  his fiercely territorial attitude toward his home as consistent with the diagnosis that
  he suffers from a severe mental illness. (31:28, 149-51). The consistency of the
  numerous accounts of Mr. Mays’ behavior from friends and family, which closely

  paralleled the clinical diagnosis of Dr. Vail, confirmed Dr. Self’s opinion. (31:149-
  151).
          In addition to the psychiatric testimony, Mr. Mays’ family testified to his

  strange behavior and their belief that he suffers from mental illness. They described
  Mr. Mays as suddenly getting a look on his face or a “weird look in his eyes,” and

  breaking off conversation without any explanation or making statements wholly

  unrelated to prior conversation. (31:92, 119, 168). Mr. Mays’ sisters testified that he




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  would suddenly and inexplicably become distrustful and suspicious of them. (31:91-

  92, 120-21).
        Christina White and Lynn Forbus, Mays’ stepdaughter and daughter

  respectively recounted specific incidents where Mays acted abnormally, describing

  his habit of hanging up in the middle of phone conversations and sudden mood
  changes without any apparent trigger. (31:60, 174). Ms. Forbus stated her belief that

  Mr. Mays has a mental illness, preventing him from having “the strength to hold the

  impulses back.” (31:174, 177). Mr. Mays’ older sister, Sherry Ross, described him
  as “peculiar” (31:72), and Ms. White found him strange upon first meeting him.
  (31:56).

        Sherry Ross further described Mays’ traumatic upbringing in Texas. After their
  parents divorced, the children, Noble, Ray, Sherry, Randall, Linda, and Kenny, lived
  in California with their mother. Soon their father brought the children back to Texas,

  denying their mother contact for several years. (31:82-84, 162). The children were
  unsupervised most of the time, with Ms. Ross, although just a “kid” herself, charged

  with caring for her younger siblings. (31:84-85, 112-113). Noble, the eldest boy, was
  “mean”; under his influence, the children huffed gas fumes from junked cars in their
  backyard (31:112) and Mr. Mays began drinking alcohol at age seven. (31:32). In

  his teens, Mr. Mays started using drugs and alcohol heavily. (31:32).

        Mr. Mays’ chronic methamphetamine abuse began around the year that his

  favorite brother, Ray, from whom he was inseparable, was murdered. (31:114,135)
  In 1977, they were at a gas station when Ray was shot in the head in a drive-by


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  shooting, bleeding to death in Mr. Mays’ lap. (31:80, 114). Mr. Mays’ sisters testified

  that he was “never the same” and “messed up in the head” after this incident. (31:114).
  Subsequent drug abuse resulted in Mr. Mays’ commitment to Terrell State Hospital

  for involuntary treatment in 1983 and 1985. (31:87, 116).               Despite these

  hospitalizations Mr. Mays was not treated for his mental illness. (28:130). In the
  following years, Mr. Mays’ youngest brother Kenny died of a drug overdose and his

  eldest brother Noble was executed by the state of Texas. (31:80-81).

        Mr. Mays independently stopped using methamphetamine in 1991, when he
  bought his property in Payne County. (31:99, 116). Around the same time, he
  married Candis, who also suffers from mental problems. (31: 52, 54). Christina White

  described him as a “great grandfather” to her children and her mother’s primary
  caretaker. (31:56-62). His family described Mr. Mays as a generous, hardworking
  loving husband, father, uncle and grandfather, devoted to his home, even while

  exhibiting symptoms of serious mental illness. (31:59-60, 173-177). Finally,
  Christina White described the role Mr. Mays played in her mother’s life. Candis

  Mays had always relied on others, particularly Christina, to help her function, as she
  was never able to work or drive. (31:53). After Candis met Mr. Mays, Christina
  “didn’t have to worry anymore,” as her mother was happy and being taken care of by

  Mr. Mays. (31:55-56).




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        E.     The Prosecution’s Closing Arguments

        Two prosecutors presented arguments at the penalty phase. Both claimed that

  there was a risk of violence when Mr. Mays found himself surrounded by uniformed
  officials, and that would be the case for the rest of his life. (32:23, 66-67). Mr. Mau

  added, “if you believe he’s paranoid…then clearly there’s a risk of violence.” (32:23).

        Regarding mitigation, Mr. Mau focused on Mr. Mays’ mental illness. He began

  by noting that “you can’t commit capital murder if you are a well-adjusted, socially
  conscious individual,” suggesting that if “having some sort of screw loose” were

  enough to mitigate capital murder, no one would receive the death penalty. (32:27-
  28). He added that the mitigation inquiry “is not asking you simply to decide there
  are – there is something mentally wrong with this person, and therefore, he can’t

  receive the death penalty.” (32:28). Mr. Mau also argued that Mr. May’s actions were
  not the result of mental illness, but rational responses to the circumstances. (32:29).
        Noting that several witnesses also testified that Mr. Mays was a nice, trusting

  and friendly man, Mr. Mau argued that the defense “can’t have it both ways. You
  can’t just throw all the defenses against the wall and see what sticks. . . . [t]here has
  to be a theory here.” (32:32). He stated that the jury could not choose to believe only

  some of the evidence: “You consider all the evidence. You don’t just pick out the half

  of the evidence that you want. But that’s what the Defense is asking you to do.”

  (32:32). And, “if you’re going to find that there’s a mitigating circumstance to justify
  that the defendant doesn’t receive the just punishment he deserves, then, surely, the

  evidence should all show you that.” (32:32).


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        This argument was re-iterated by Ms. Bennett:

        And you heard Mr. Mims get up here and talk about – let’s see, this is a
        sad story. And if it’s a sad story for the defendant doesn’t work for you,
        his family upbringing…

        And I that doesn’t work for you, he’s got some mental illness…

        And if that doesn’t work for you, he took some drugs about 20 years
        ago…
        And if that doesn’t work for you, the police came and invaded his castle.

        And if that doesn’t work for you, he’s poor.

        And I that doesn’t work for you, he’s pathetic.
        And if that doesn’t work for you, his attorney is begging for his life.

        All of those things are issues that he’s throwing up there hoping that one
        of those, you’re going to grasp a hold of and determine that that’s some
        sort of mitigation evidence . . .

        The problem is, you have to look at all the evidence.”
  (32:58-59).
        F.      The Defense’s Closing Argument

        Counsel began by arguing that the events of May 17, 2007 did not have to
  happen, explaining that the consequences of the standoff could have been prevented.

  (32:38-41). He argued that the officers were familiar with Mr. Mays, and that “the
  first time they met Mays, they knew he had some kind of problem.” (32:41-42). Some

  of the officers underwent Crisis Intervention Training for this sort of incident, and

  even Tony Ogburn’s widow agreed that the incident “could have been handled

  differently.” (32:43-44). Counsel discussed his abusive childhood, his brothers’



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  deaths, his family life, and evidence of odd behavior long before the incident. (32:45-

  47).
         G.     State Post-Conviction Hearing

         At a hearing on the state application for a writ habeas corpus, Bobby Mims, the

  principal defense attorney, testified regarding the claim of ineffective assistance of
  counsel at trial. Mr. Mims’s testimony in large part concerned Mays’s apparent

  mental health while Mims represented him.               Mr. Mims identified that it was

  “particularly challenging” to gain Mr. Mays’ trust, and that Mr. Mays would go into
  “episodes” between cooperation and non-cooperation with his attorneys. (HV 2:54,
  59).4 He attributed his difficulties with Mr. Mays to mental illness. (HV 2:53). He
  stated that Mr. Mays would episodically become suspicious of his counsel in a way

  that hindered Mr. Mims’s ability to help him. (HV 2:23-24).
         Mr. Mims recalled that at some point during the trial, he became aware that

  Mays had been diagnosed with an organic brain injury. (HV 2:30). During jury
  selection, the defense received medical records that indicated that Mr. Mays was
  diagnosed with either “organic brain damage” or “organic brain syndrome.” (HV

  2:30; See Petitioner’s Exhibit 1 submitted herewith). The record itself was made

  almost a year earlier, shortly after Mr. Mays’ arrest, in June of 2007. (HV 2:57).
  Mr. Mims stated that upon receiving the medical records containing the diagnosis of

  organic brain injury, he was disturbed that he had missed something and desired to

  take remedial action. (HV 2:31). He testified: “[W]e didn’t discover that. That’s one

         4
                Numbers preceded by HV refer to the transcript of the hearing on the writ of
  habeas corpus consisting of five volumes, with each volume paginated separately.

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  thing we were negligent in.” (HV 2:30). Mr. Mims quickly sought funds from the

  court in order to retain Dr. Paul Andrews, a psychologist. (HV2:31). According to
  Mr. Mims, Dr. Andrews visited Mays two or three times at the jail in an attempt to

  investigate the possibility of organic brain damage. (HV 2:31). However, Mr. Mays

  refused to sign a release in order to be tested, and could not be persuaded to submit
  to testing by Dr. Andrews or Gerald Byington, a member of the defense team.

  (HV2:32; See also the report of Dr. Andrews, submitted as Petitioner’s Exhibit 2

  herewith). Mr. Mims did not recall if he had visited Mays in jail in order to impress
  upon his client the importance of signing the release and submitting to testing. (HV.2,
  p.32). Mr. Mims also testified that John Wright, another member of the defense team,

  expressed that there might be a need to give Mr. Mays a neuropsychological
  evaluation because of Mr. Mays’s past abuse of methamphetamines. (HV2:33). Mr.
  Mims did not discuss neuropsychological testing with Mr. Mays since Mr. Mays

  would not cooperate with Dr. Andrews, and Mr. Mims did not believe that he would
  cooperate with having “to put electrodes on his head and that sort of stuff.” (HV

  2:33).
           Mr. Mims also testified that he failed to object to the Court’s omission of the

  “Mills v. Maryland” language in the jury charge. (HV.2, p.36). Mr. Mims stated that

  it was possible that he requested such language to be included in the jury charge, but

  he did not have a memory of making a request. (HV 2:37). Mr. Mims stated,

  however, that he believed that he had filed an objection to charge that covered the

  omitted language. (HV 2:37).


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        At the same hearing, Dr. Joan Mayfield, a Ph.D. in psychology with special

  training in neuropsychology, testified regarding her neuropsychological evaluation of
  Mr. Mays. A copy of her report is submitted herewith as Petitioner’s Exhibit 3. The

  tests that Dr. Mayfield conducted on October 9, 2009 concerned intelligence,

  academic achievement, and executive functioning, which comprises memory,
  language and motor function. (HV 3:10). Dr. Mayfield also tested Mr. Mays’

  attention, which encompassed his ability to inhibit responses, his problem-solving

  ability, and his ability to generate strategies or figure out plans. Dr. Mayfield found
  that Mr. Mays was able to perform tasks at an appropriate level when it is simple and
  concrete, but as distractions increase, he gets overwhelmed and is unable to process

  simple information. (HV 3:13-18).
        With respect to his intelligence, Dr. Mayfield found that Mr. Mays “did really
  poorly. His scores were in the significantly-impaired range in both verbal and non-

  verbal functioning.” (HV 3:10). She acknowledged that the testing she did would
  indicate the existence of a brain injury, but now how the injury occurred. (HV 3:26).

  She further testified, “If I had some collaborative history to support this, it would look
  like he’s functioning at a mild mental retardation range.” (HV 3:10-11). Although
  she was aware from reports from Mr. Mays that he had been in special education, she

  had no other information of “adaptive functioning delay, that would be necessary for

  a diagnosis of mental retardation.” (HV 3:11). Accordingly, she did not make a

  diagnosis of mental retardation. (HV 3:11).




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        Dr. Mayfield concluded that the cognitive deficits she observed were the result

  of Mays’s prior methamphetamine usage “[b]ecause I couldn’t find any other excuse
  for it.” (HV 3:26). She determined that the drug use had caused organic brain

  damage. (HV 3:24-25). There was no indication that Mays had any developmental

  disability that would account for his cognitive functioning, nor was there any
  indication from his record that he had sustained any kind of head injury or stroke.

  (HV 3:26). On these bases, Dr. Mayfield diagnosed Mays with dementia not

  otherwise specified secondary to the chronic use of drugs. (HV 3:27).
        Dr. Mayfield elaborated on her diagnosis at the hearing. Persons with dementia
  can perform well with concrete or structured tasks, and are able to do things well that

  they encounter on a normal basis. But dementia creates problems when the individual
  encounters a novel, complex, difficult, or stressful situation. In these situations, the
  individual would face more difficulty and the signs of dementia would become more

  pronounced. (HV 3:29). Dr. Mayfield also commented on the facts of the offense that
  resulted in a capital conviction for Mr. Mays. She opined that it was a stressful

  situation and that Mays would not have adapted as well to that situation as someone
  who does not have dementia. (HV 3:30-31).




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                                             VI

                                         PART 1
              INEFFECTIVE ASSISTANCE OF COUNSEL CLAIMS

        The Sixth Amendment guarantees a criminal defendant a right to counsel. The

  Supreme Court has recognized that “the right to counsel is the right to the effective

  assistance of counsel.” McMann v. Richardson, 397 U.S. 759, 771, n. 14 (1970).

        An ineffective assistance claim has two well-known components: A petitioner

  must show that counsel's performance was deficient, and that the deficiency

  prejudiced the defense. Strickland v. Washington, 466 U.S. 668 at 687 (1984). To

  establish deficient performance, a petitioner must demonstrate that counsel's

  representation “fell below an objective standard of reasonableness.” Id., at 688. The

  Supreme Court has declined to articulate specific guidelines for appropriate attorney

  conduct and instead has emphasized that “the proper measure of attorney performance

  remains simply reasonableness under prevailing professional norms.” Wiggins v.

  Smith, 539 U.S. 510 (2003).

        A showing of prejudice requires showing that counsel’s errors were so serious

  as to deprive the defendant of a fair trial, that is a trial whose result is reliable.

  Strickland, 466 U.S. at 687. Prejudice is assessed by re-weighing the aggravating

  evidence against the totality of the mitigating evidence adduced both at trial and in the

  habeas proceedings. Williams v. Taylor, 529 U.S. 362, 397-398 (2000). Counsel also

  has a duty to bring to bear such skill and knowledge as will render the trial a reliable

  adversarial testing process. Strickland, 466 U.S. at 694.


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                                         Claim 1

        Trial counsel was constitutionally ineffective in the penalty phase for
        failing to investigate vital mitigating evidence of Mr. Mays’ severe
        mental illness.

        Mr. Mays’ counsel failed to order a neuropsychological examination to present

  as mitigating evidence. Subsequently, state habeas counsel was able to do what trial

  counsel apparently could not – obtain a Neuropsychological Evaluation of Mr. Mays,
  Petitioner’s Exhibit 3. Exhibit 3 and the testimony of Dr. Mayfield demonstrated

  objectively through testing that he suffered, at a minimum, dementia, and did on the

  day of the shooting. Because of trial counsel’s error, crucial mitigating evidence that

  could have outweighed the State’s case for the death penalty was not investigated or
  at least was not investigated in a timely manner to be of any use to Mr. Mays. Mr.

  Mays was deprived of his Sixth Amendment right to effective assistance of counsel.
        Trial counsel did not request, and therefore did not have access to the June 6,

  2007, jail record reflecting Mr. Mays had “organic brain damage, Petitioner’s Exhibit
  1, until April of 2008, after the trial had already started. (HV 2:57). Jury selection
  commenced on March 26, 2008. When testifying at the state post-conviction hearing,

  lead trial counsel admitted: “But when I say that, we didn’t discover [the jail record].

  That’s one them that we were negligent in.” (HV 2:30). When Dr. Andrews tried to
  get Mr. Mays’ last-minute consent to testing, he balked. Given the nature of his

  mental illness and his chronic paranoia, this should have come as little surprise.
  During these ten months it is quite likely that counsel and the investigator who had




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  rapport with Mr. Mays, could have convinced him to cooperate with Dr. Andrews.

  However, that time was lost by the start of trial.
        Even without the telling jail record, counsel knew that he had a client with

  mental issues. Although he did not have the June 6, 2007, jail record, counsel

  admitted that at that time he was having difficulties with Mr. Mays that he thought
  “might have to do with mental illness.” (HV 2:53). Because of his mental illness,

  counsel even told the jury:

        But I have to tell you, I'd never been around mentally ill people. I never
        have. I thought I have. I'd never – I'd never been around a mentally ill
        person 'til I met that guy right there, Randall Mays. . . . I can’t talk to
        this guy. I don’t – I met with him several ties. We couldn’t
        communicate. . . . He wouldn’t have anything to do with us. It was
        almost like he had nothing. . . . . [H]e could even cooperate with his own
        lawyers in his own defense.
  (32:50-53). Counsel advised the trial court that he started representing Mr. Mays on
  March 18th or 19th of 2007, and “Mr. Mays, obviously from the first time I met him,

  I believe suffered from some sort of mental illness.” (29:68-69). Why then, did the

  trial team fail to secure a neuropsychological examination? There could be no
  strategical reason for not having Mr. Mays examined.
        By neglecting to obtain a neuropsychological examination, despite awareness

  of Mr. Mays’ organic brain damage, trial counsel failed to investigate vital mitigation

  evidence, and therefore, rendered ineffective assistance. See, Wiggins v. Smith, 539

  U.S. 510, 524-25 (2003)(when evidence known to counsel suggests problematic areas,

  counsel has a duty to investigate further). Of course, the Sixth Amendment guarantees

  each criminal defendant the assistance of competent counsel.              If counsel’s


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  performance was deficient, and the defendant suffered prejudice because of that

  deficient performance, then the resulting death sentence is unreliable. Strickland v.

  Washington, 466 U.S. 668, 687 (1984).

        Courts throughout the country have, under similar circumstances, determined

  that failure to secure such examination renders counsel’s performance deficient.

  Frierson v. Woodard, 463 F.3d 982 (9th Cir. 2006) (failure to investigate neurological

  damage from a head injury rose to the level of ineffective assistance); Parker v. State,

  3 So.3d 974, 983 (Fla. 2009) (ineffective assistance found as a result of trial counsel’s

  failure to present an expert on defendant’s neuropsychological impairment in

  executive functioning); Bell v. True, 413 F.Supp.2d 657 (W.D. Va 2006) (ineffective

  assistance found based on failure to offer evidence of neurological impairment and

  cognitive defects); United States ex rel. Madej v. Schomig, 223 F.Supp.2d 968 (N.D.

  Ill. 2002), affd, 370 F.3d 665 (7th Cir. 2004) (same).

        It is a widely accepted view that obtaining a neuropsychological exam of a
  defendant suffering from mental illness is critically important. Trial counsel’s failure
  to obtain a neuropsychological exam, his awareness of Mr. Mays’ mental illness if not

  his organic brain damage, and his difficulty communicating with Mr. Mays

  demonstrate deficient performance, especially given defense counsel’s testimony that

  strategically speaking, demonstrating diminished capacity was a primary goal and this
  case “especially” was “defend[ed]…at the mitigation level.” (HV 3:28-9).

        Indeed, it cannot be seriously disputed that trial counsel knew and even

  presented some limited evidence of Mr. Mays’ psychological impairment. Three


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  doctors testified, and told the jury that Mr. Mays suffered from mental illness, but

  none to the depth and with the objective criteria found by Dr. Mayfield. Even though
  the State brought forth no experts to undermine the claim of mental illness, it argued

  in punishment that Mr. Mays was not mentally ill.

        One who alleges a failure to investigate on the part of his counsel must allege
  with specificity what the investigation would have revealed and how it would have

  altered the outcome of the trial. Nelson v. Hargett, 989 F.2d 847, 850 (5th Cir. 1993).

  As shown by Dr. Mayfield’s report, Mr. Mays has suffered organic brain damage

  which does and did affect his cognitive ability to think and make decisions. This was
  clearly available to trial counsel, especially had they used the year between offense

  and verdict to secure such an evaluation. Even though Mr. Mays delusionally refused
  to participate in last-minute testing, the fact that state habeas counsel was able to

  secure an evaluation demonstrates that trial counsel could have done so as well, had
  they been diligent and attentive to the need.

        Evidence of the severity of Mr. Mays’ brain damage and resulting mental illness
  and its relevance to his ability to cope in high stress situations would have been
  invaluable at the penalty phase of his capital trial. Despite extensive mitigation at the

  penalty phase, evidence of his severe dementia and mild retardation (due to brain
  damage) directly implicates his moral culpability for his crime, and the addition of this

  compelling evidence may well have influenced the jury’s appraisal of Mr. Mays’

  mitigation case. The nature of this mitigating evidence is such that there is a

  reasonable probability that its presentation at the penalty phase would have changed


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  the outcome of that proceeding. Strickland v. Washington, 466 U.S. at 694. Of

  course, the prejudice from failure to present this critical mitigating evidence was
  exacerbated by the omission of the mitigating evidence instruction required by

  Supreme Court precedent and Texas statute. See, Claim 4.

                                         Claim 2
        Trial counsel was constitutionally ineffective for failing to request a
        competency hearing.

        Despite arguing to the jury in the punishment phase that Mr. Mays was mentally

  ill and non-communicative, Mr. Mays’ counsel failed request a competency hearing.
  It is apparent from the record and from the testimonies of Dr. Vail, Dr. Self and Dr.

  Kessner that Mr. Mays is severely mentally ill. (31:28). Psychiatrist, Dr. David Self
  testified: “Well, I believe, with reasonable psychiatric certainty, that Mr. Mays has a
  chronic and severe psychiatric illness.” (31:129). Psychiatrist, Dr. Teresa Vail

  testified that, when she first visited with Mr. Mays he was polite but very delusional
  (31:31), and that her initial diagnosis was depression and psychotic disorder not
  otherwise specified. (31:19-20). She testified:
        Also, there are strange thoughts that people have, called delusions, which
        are fixed false beliefs. Those thoughts, no matter what you tell them,
        how you tell them that they are not true, they still hang on to them with
        tenacity.

  (31:21). In fact, Dr. Teresa Vail told the jury that the defense mitigation expert,
  Gerald Byington:

        He was under the belief that Mr. Mays was suffering from a depression
        and also some sort of delusional disorder. He did not believe that he was
        at that time able to actually help with his defense.


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  (31:19) Counsel admitted that all three doctors testified that Mr. Mays had severe

  mental illness. (HR 1:51-52) Certainly, all the indicators of incompetency were
  present and well known to counsel, as reflected by the arguments:

         “I’ve never been around a mentally ill person ‘til I met that guy right there
         Randall Mays.” (32:50)

         “I can’t talk to this guy. I don’t – I met with him several other times.
         We couldn’t communicate.” (32:51)

         “[H]e wouldn’t have anything to do with us. It was almost like he had
         nothing.” (32:52)

         “[H]e couldn’t even cooperate with his lawyers in his own defense. He
         needed to have mediation.” (32:53)5
         It is axiomatic that a criminal defendant must be mentally competent to stand

  trial. Drope v. Missouri, 420 U.S. 162 (1975). Article 46B.003 of the Texas Code of

  Criminal Procedure states that a person is incompetent to stand trial if that person does
  not have:

         (1)     sufficient present ability to consult with persons with a reasonable degree
                 of rational understanding; or
         (2)     a rational as well as factual understanding of the proceedings against the
                 person.

  Pursuant to TEX. CODE. CRIM. P. 46B.004, either party or the trial court on its own
  may suggest that a defendant is incompetent to stand trial.



         5
                  These comments stand in stark contrast to the findings of the state habeas court
  that this attorney “believed that at the time of trial [Mr. Mays] was not incompetent, and that
  [Mr. Mays] was able to assist counsel in his defense . . ..” See, the state habeas court’s finding
  of fact number 1 relating to writ issue no. 2, on page 4 of the Findings of Fact and Conclusions
  of Law on Applicant’s Writ of Habeas Corpus, filed on December 3, 2010. That finding is
  unreasonable determination of the facts by the State court. 28 U.S.C. § 2254(d).

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           Trial counsel’s failure to request a competency hearing violated Mr. May’s

  rights to due process of law and allowed an incompetent defendant to be sentenced to
  death.     Counsel’s failure prejudiced the rights of the defendant to have his

  incompetency fairly and fully adjudicated. Hull v. Kyler, 190 F.3d 88 (3rd Cir. 1999);

  Burt v. Uchtman, 422 F.3d 557 (7th Cir. 2005).

           The obligation to seek a competency hearing can arise more than once during
  a trial. Counsel should be alert to any deterioration of the defendant’s mental

  condition between the time of a competency determination and the end of the trial, so

  as to decide if another competency hearing should be requested. See Felde v.

  Blackburn, 795 F.2d 400, 403 n.2 (5th Cir. 1986).

           Mr. Mays’ trial while incompetent is patently ineffective because his attorneys

  had access to additional information suggesting he was incompetent than did the trial

  court. Moreover, there is not any conceivable tactical reason for counsel’s decision

  not to request a competency hearing. If during the trial on the merits or, prior to trial,
  evidence which raises a bona fide doubt of the defendant's competency is brought to
  the attention of the trial court, the court is constitutionally required to conduct a

  separate hearing out of the jury's presence to determine whether the defendant is

  competent to stand trial. Pate v. Robinson, 383 U.S. 375, 376–387 (1966); Townsend

  v. State, 427 S.W.2d 55, 57–63 (Tex. Crim. App. 1968).

           The state habeas court found that trial counsel felt that by submitting evidence

  at a competency hearing, it would result in the Court ordering Mr. Mays to submit to
  cross-examination by the state’s experts, and would give the state certain advantages,


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  and further found that imcomptent excuse to be a plausible basis for foregoing a

  competency trial.6 These findings confirm that trial counsel was unaware that a
  competency examination could not be used for other purposes, given the reluctance
  to allow a competency examination. TEX. CODE CRIM. PROC., art. 46B.007 expressly

  prohibits the admissibility during any criminal proceedings (other than at a
  competency trial or where Defendant opens the door) any statement made by a

  defendant during an examination or trial on the defendant’s incompetency. It is

  inconceivable that a person with Mr. May’s disabilities would not have been examined
  for competency. It was patently ineffective not to have requested a competency
  hearing.
                                               Claim 3
         Trial counsel was constitutionally ineffective for failing to investigate and
         present the affirmative defense of insanity.

         Section 8.01 of the Texas Penal Code provides:
         (a)     It is an affirmative defense to prosecution that, at the time of the conduct
                 charged, the actor, as a result of severe mental disease or defect, did not
                 know that his conduct was wrong.
         (b)     The term mental disease or defect does not include an abnormality
                 manifest only by repeated criminal or otherwise anti-social conduct.

  The prosecutor in Texas is not required to negate the existence of an affirmative

  defense. TEX. PEN. CODE § 2.04. If the existence of an affirmative defense such as
  insanity is submitted to the jury, meaning that evidence was submitted supporting the


         6
                  See, the state habeas court’s finding of fact number 2, 3 and 5 relating to writ
  issue no. 2, on page 4 of the Findings of Fact and Conclusions of Law on Applicant’s Writ of
  Habeas Corpus, filed on December 3, 2010.

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  defense, the defendant must prove the affirmative defense by a preponderance of the

  evidence. Id. A defendant intending to raise the insanity defense is further required

  to give advance notice of that intent to raise the issue of insanity. TEX. CODE CRIM.
  P. art. 46C.051.

        The issue of the sanity, vel non, of Mr. Mays was not raised and no notice of

  insanity was given. As set forth above, it was the unanimous opinion of Drs. Vail,

  Self and Kessner that Mr. Mays was seriously ill. In addition, Dr. Kessner’s
  testimony raised the issue that Mr. Mays claimed he was acting in response to a

  perceived threat:

        He was acting under a paranoid ideation. He was not under the same
        contact with reality that you or I might be under.
        . . . I don’t believe he’s in control of his thought processes.
        Yes. I think his mental illness could affect his inability to intentionally
        and knowingly [commit the shootings].
  (29:42, 45, 46). Her testimony was that Mr. Mays acted under a delusion of imminent

  attack. (29:47). Despite these clear markers, well known in advance of trial, Mr.
  Mays was never seen by a psychiatrist or psychologist to determine whether he was

  sane at the time of the shootings.

        It is obvious that trial counsel were aware of the mental illness of their client,
  but equally obvious that they did not investigate the matter further or adequately. In

  determining whether counsel made serious errors, “strategic choices made after
  thorough investigation of law and facts relevant to plausible options are virtually

  unchallengeable . . ..” Strickland, 466 U.S. at 690. “However, a failure to investigate,


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  especially as to key evidence, must be supported by a reasoned and deliberate

  determination that investigation was not warranted.” O'Hara v. Wigginton, 24 F.3d

  823, 828 (6th Cir. 1994).

        [S]trategic choices made after less than complete investigation are
        reasonable precisely to the extent that reasonable professional judgments
        support the limitations on investigation. In other words, counsel has a
        duty to make reasonable investigations or to make a reasonable decision
        that makes particular investigations unnecessary.

  Strickland, 466 U.S. at 690-91.

        Pursuant to section 8.01(b) of the Texas Penal Code, intoxication does not

  constitute a mental disease or defect. Had counsel investigated this case fully, they
  might have learned that Mr. Mays’ learning deficits, and his organic brain damage
  existed at his youth, well prior to his march down the path of substance abuse. It is

  not consequential in any event, as while drug addiction in an of itself cannot be mental
  disease, organic brain pathology or psychosis caused by drugs may be mental disease

  or defect. See, United States v. Lyons, 731 F.2d 243, 246–247 (5th Cir. 1984).
                                         Claim 4

        Mr. Mays received ineffective assistance of trial counsel for failing
        to object to the trial court’s omission of the jury instruction that
        jurors need not agree on what particular evidence supports an
        affirmative answer to the mitigation question.


        This was raised as the seventh issue in Mr. Mays’ state application for writ of

  habeas corpus. With respect to the mitigation issue, the court instructed the jury:
        The jury shall consider mitigating evidence to be evidence that a jury
        might regard as reducing the Defendant’s moral blameworthiness. . . .



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         [T]he jury may not answer [the mitigation issue] “Yes” unless ten or
         more jurors agree.7

  It is not disputed that the trial court clearly omitted the statutorily mandated
  instruction advising the jurors that they did not need to agree on what particular

  evidence supports a finding on the mitigation issue.8 It is likewise not disputed that

  counsel did not object to the omission of this instruction.9

         In connection with the mitigation issue, the Texas Code of Criminal Procedure,
  article 37.071(2)F)(3) states:

         The court shall charge the jury that in answering [the mitigation issue],
         the jury need not agree on what particular evidence supports an
         affirmative finding on the issue.
         This the instruction was required not only by Texas statute, but more

  importantly by Supreme Court precedent. See Mills v. Maryland, 486 U.S. 367

  (1988)(vacating death sentence because the jury instructions gave rise to a “substantial

  probability that reasonable jurors . . . may have thought they were precluded from


         7
                  See, the Court’s Charge on Punishment, at page 3, a copy of which is submitted
  herewith as Petitioner’s Exhibit 4.
          8
                  See, the state habeas court’s finding of fact number 1 relating to writ issue no. 7,
  on page 13 of the Findings of Fact and Conclusions of Law on Applicant’s Writ of Habeas
  Corpus, filed on December 3, 2010.
          9
                  Id., at finding 2. This was also raised on direct appeal, but because it was not the
  subject of a proper objection at trial, it was therefore subjected to a higher, near impossible level
  of review:

         [A]ppellant complains that the trial court omitted statutorily required language
         from the mitigation-issue instructions. He is correct. The trial judge erred by
         failing to instruct the jurors that they need not agree on what particular evidence
         supports a finding on the mitigation special issue. However, appellant failed to
         notice or object to this omission, and thus he may obtain a reversal of his sentence
         only if he shows that this error caused “egregious harm” with respect to
         sentencing, that is, that the defendant was deprived of a fair sentencing trial.

  Mays v. State, 318 S.W.3d 368, 394 (Tex. Crim. App. – 2010).

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  considering any mitigating evidence” not found unanimously); McKoy v. North

  Carolina, 494 U.S. 433, 439-40 (1990)(unanimity requirement as to mitigating

  circumstances prevents jurors from giving effect to evidence that they believe calls for

  a sentence less than death – even if all jurors agree that some mitigating circumstances

  exist – unless they unanimously find the existence of the same mitigating

  circumstance). An essential holding in Mills is that the jury may not refuse to

  consider or be precluded from considering any relevant mitigating evidence, Mills,

  486 U.S., at 374-375, yet that is precisely what occurred here. As the Supreme Court

  has described the problem:
        If, for example, the defense presents evidence of three potentially
        mitigating considerations, some jurors may believe that only the first is
        mitigating, some only the second, and some only the third. But if even
        one of the jurors believes that one of the three mitigating considerations
        exists, but that he is barred from considering it because the other jurors
        disagree, the Court held, the Constitution forbids imposition of the death
        penalty.

  Smith v. Spisak, 130 S. Ct. 676, 682 (2010).

        Several federal circuit courts have determined that failure to object to erroneous

  or unconstitutional jury instructions can constitute deficient performance. In Bloomer

  v. United States, 162 F.3d 187 (2d Cir. 1998), the Second Circuit determined that

  counsel’s failure to object to jury instructions relaying an improper reasonable doubt

  standard fell short of professionally competent assistance, even though higher courts
  had not ruled specifically on the deficiency of the exact instruction given by the court.

  Similarly, the Fifth Circuit has held that counsel’s failure to object to or appeal

  constitutionally defective jury instructions that added a different legal theory to that


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  charged in the indictment constituted ineffective assistance of counsel. Ricalday v.

  Procunier, 736 F.2d 203, 207 (5th Cir. 1984). See also Gray v. Lynn, 6 F.3d 265, 269

  (5th Cir. 1993)(trial counsel’s failure to object to an “erroneous jury instruction”

  regarding the intent required for conviction could not be “considered within the ‘wide

  range of professionally competent assistance’” and was therefore deficient).

        Without the non-agreement charge, it is highly likely that jurors would
  understand the instructions to preclude the consideration of mitigation evidence

  supporting a “yes” answer to this special issue unless the jurors agreed on the

  existence of that evidence. Moreover, the possibility that jurors were precluded from
  considering relevant mitigating evidence was increased by other portions of the jury

  instruction as well as statements made by the prosecution. See Cupp v. Naughten, 414

  U.S. 141, 146-147 (1973)(jury instruction may not be judged in artificial isolation, but

  must be viewed in context, citing Boyd v. United States, 271 U.S. 104 (1926)). The

  jury here had been instructed that they need not agree on what particular evidence

  supports a “no” answer to special issue one, future dangerousness. By specifically
  telling the jury that they need not agree on what particular facts support an answer to
  special issue one, and then failing to give them this same instruction for special issue

  two, the judge at best created confusion and at worst affirmed an erroneous

  understanding by the jury. This possibility of error in a death penalty case is one that

  this Court has determined it “dare not risk.” Mills, 486 U.S. at 384.

        As in Mills, the instructions here created the strong probability that one holdout

  juror could have prevented the others from giving effect to evidence that they believed


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  called for a sentence less than death. Moreover, even if all twelve jurors agreed that

  there were some mitigating circumstances, the instruction prevented them from giving
  effect to evidence supporting any of those circumstances in their deliberations unless

  they unanimously found the existence of the same “particular evidence.” Id. As

  discussed above, the instruction failed to state that unanimity was not required
  concerning “what particular evidence” supported the finding of a mitigating

  circumstance, while informing the jurors they need not agree “what particular

  evidence” could negate a finding on the first issue. Thus this is not an isolated

  misstatement, but an omission which tipped the scales against Mr. Mays.
         There was ample evidence in the record which might have served in mitigation of

  sentence. Most obvious is his mental illness. Additionally, there was evidence of his

  struggle with methamphetamine addiction, his abuse and neglect as a child, and the
  provocations and intrusions made by the officers on himself, his home and his spouse.

  Clearly, at least two of the jurors did not think Mr. Mays was a continuing threat.10 As on

  juror stated, “I don’t see him really hurting a fly. . . . Like I said, I think that it was just a
  fluke that it happened.” Exhibit 9.

         Furthermore, the likelihood of an erroneous understanding by the jury was even
  greater given the prosecution’s repeated, and unrebutted, suggestions in closing

  argument that the defense was required to submit and the jury should accept a single
  mitigation theory. The prosecution asserted that the defense could not “just throw all

  the defenses against the wall and see what sticks . . . [t]here has to be a theory here.”


         10
                See, excerpts of juror interviews of jurors Denson and Anderson, submitted
  herewith as Exhibits 9 and 10 respectively.

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  “If you’re going to find that there’s a mitigating circumstance to justify that the

  defendant doesn’t receive the just punishment he deserves, then, surely, the evidence

  should all show you that.” (32:32) (emphasis added). The state went on to list the

  different mitigation theories presented by the defense, and then asserted that, “All of

  those things are issues that he’s just throwing up there, hoping that one of those,

  you’re going to grasp a hold of and determine that that’s some sort of mitigation
  evidence.” (32:58)(emphasis added). These statements improperly implied that the

  jurors had to agree in finding a particular mitigating factor, increasing the likelihood

  that a reasonable juror would have been impermissibly inhibited from considering all
  mitigating evidence. Nothing was said in the arguments of defense counsel that in any way
  corrected the false impression of the law created for the jury by the erroneous instructions

  in this case. The defense said nothing about there being no need for unanimity.

         The state habeas judge’s finding of fact that the omission of the instruction had

  “no conceivable impact” on the jury’s verdict11 nullifies the purpose of the Mills

  requirement. This finding is clearly contrary to, and involved an unreasonable

  application of, clearly established Federal law, as determined by the Supreme Court
  of the United States, and as such qualifies for relief under 28 U.S.C. § 2254(d). The

  omission of the instruction inserted risk into the jury deliberations that individual

  jurors would mistakenly preclude consideration of mitigating evidence simply because




         11
                 See, the state habeas court’s finding of fact number 4 relating to writ issue no. 7,
  on page 13 of the Findings of Fact and Conclusions of Law on Applicant’s Writ of Habeas
  Corpus, filed on December 3, 2010.

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  they did not all agree upon it. This is precisely the risk that the Mills majority found

  to be abhorrent to the imposition of the death penalty.
         In order to meet the requirements of the Eighth Amendment, a capital

  sentencing system must allow the sentencing authority to consider mitigating

  circumstances. Jurek v. Texas, 428 U.S. 262, 271 (1976). Further, under the Penry

  decisions,12 the jury must be able to “consider and give effect to [a defendant's

  mitigating] evidence in imposing sentence.” Penry I, 492 U.S. at 319. Only when the

  jury is given a “vehicle for expressing its ‘reasoned moral response’ to that evidence

  in rendering its sentencing decision,” id. at 328, can there be any confidence that the

  jury “has treated the defendant as a ‘uniquely individual human bein[g]’ and has made

  a reliable determination that death is the appropriate sentence.” Id. at 319 (quoting

  Woodson v. North Carolina, 428 U.S. 280, 304-05 (1976)).

         Without the proper jury instructions, the jury’s death penalty determination

  cannot be considered reliable. Therefore, Mr. Mays was denied his Sixth Amendment
  right to effective assistance of counsel.




         12
                Penry v. Lynaugh (Penry I), 492 U.S. 302, and Penry v. Johnson (Penry II), 532
  U.S 782, 797 (2001).

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                                         PART 2

                CLAIMS RELATED TO MENTAL DEFICIENCIES
                                             Claim 5

        Execution of Mr. Mays, as an individual with an intellectual
        disability, would violate the Eighth Amendment as cruel and
        unusual punishment.

        Since the 2002 decision of Atkins v. Virginia, 536 U.S. 304 (2002) any effort

  to execute a mentally retarded individual violates the Eighth Amendment. The
  terminology has since changed, and this disability is now termed “intellectual

  disability.” The American Association of Intellectual and Developmental Disabilities

  defines an “intellectual disability” as:

         [A] disability characterized by significant limitations both in intellectual
         functioning and in adaptive behavior, which covers many everyday
         social and practical skills. This disability originates before the age of 18.
  Intellectual Disability: Definition, Classification, and Systems of Supports (Eleventh

  edition 2010). Atkins specifically reserved to the states the adoption of procedures

  to implement its new constitutional rule. In Texas, “intellectual disability” is defined

  by: (1) significantly subaverage general intellectual functioning; (2) accompanied by
  related limitations in adaptive functioning; (3) the onset of which occurs prior to the

  age of 18. Ex parte Briseno, 135 S.W. 3d 1, 7 n.26 (Tex. Crim. App. 2004); Ex Parte

  Hearn, 310 S.W.3d 424 (Tex. Crim. App. 2010).

        A.     Subaverage Intellectual Functioning

        Dr. Joan Mayfield, a Ph.D. in psychology with special training in
  neuropsychology, performed a neuropsychological evaluation of Mr. Mays in

  connection with the state habeas proceedings. A copy of her report is submitted
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  herewith as Petitioner’s Exhibit 3. With respect to his intelligence, Dr. Mayfield

  found that Mr. Mays “did really poorly. His scores, which were in the 60's, were in
  the significantly-impaired range in both verbal and non-verbal functioning.” (HV

  3:10). She further testified, “If I had some collaborative history to support this, it

  would look like he’s functioning at a mild mental retardation range.” (HV 3:10-11).
        B.     Adaptive Deficits

        Undeveloped by trial or state habeas counsel were the school records for Mr.

  Mays, which demonstrate extremely poor grades, with relatively appropriate
  attendance. See, Petitioner’s Exhibit 5 and 6. Moreover, his standardized test scores
  demonstrate that he was functioning several grades below his stated age. Thus, while

  he was attending school, he was not achieving.
        C.     Onset Prior to Age 18

        There can be little squabble that Mr. Mays demonstrated mental illness at a very

  young age. In 1983, at age twenty-two, he was civilly committed due to delusion,
  hallucinations and active psychosis. It was reported that Mr. Mays was pacing, talking

  to himself, not communicating with others, and experiencing hallucinations. See,

  Petitioner’s Exhibit 7 and 8 submitted herewith. In 1983, he was also committed to
  the Terrell State Hospital where the staff psychiatrist reported that Mr. Mays admitted

  to both auditory and visual hallucinations, that his memory was impaired for both
  recent and remote events, that retention and recall were both impaired, and that his

  judgment and insight were both impaired. Two years later, during a second admission




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  to the Terrell State Hospital, it was reported that Mr. Mays had no salable employment

  skills.
            Again, Dr. Mayfield acknowledged that the testing she did would indicate the

  existence of a brain injury, but now how the injury occurred. (HV 3:26). Nor would

  it indicate when. What she was not provided with was the transcript of the testimony
  of Mr. Mays’ sister Sherrie Ross, who testified that Mr. Mays and his siblings children

  huffed gas fumes from junked cars in their backyard (31:112); Mr. Mays began

  drinking alcohol at age seven (31:32); and that in his teens, Mr. Mays started using
  drugs and alcohol heavily (31:32). Ms. Ross stated that in 1977, Mr. Mays and his
  brother were at a gas station when his brother was shot in the head in a drive-by

  shooting, bleeding to death in Mr. Mays’ lap. (31:80, 114). Mr. Mays’ sisters testified
  that he was “never the same” and “messed up in the head” after this incident.
            D.    Ineffectiveness of State Habeas Counsel Constitutes Cause to Excuse
                  any Procedural Default.

            This matter has not been presented to the state court. It should have been
  asserted by state habeas counsel as an issue of ineffectiveness of trial counsel in

  failing to investigate and assert an Atkins issue with the trial court. With ease it can

  be predicted that the Director’s will assert that there is no constitutional right to

  effective assistance of counsel in state habeas proceedings, a position first articulated

  in Texas in Ex parte Graves, 70 S.W.3d 103 (Tex. Crim. App. 2002). But this issue

  was the subject of a grant of certiorari by the Supreme Court in Martinez v. Ryan on




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  June 6, 2011.13 Though no one can predict precisely what the decision will be in these

  two cases, the premise that there is no constitutional right to the effective assistance
  of counsel in state habeas proceedings is now likely questioned by at least four

  Justices of the Supreme Court.

         If the Director’s position is correct, Mr. Mays has a very strong claim of
  ineffective assistance of state habeas counsel in wholly failing to assert the

  ineffectiveness of trial counsel to investigate and present the issue of intellectual

  disability to the trial court. The forthcoming decision in Martinez could require that

  his Atkins claim be heard.

         The ultimate question presented would be whether Mr. Mays has “cause” for

  failure to present in state court his Atkins claim (i.e, the ineffectiveness of trial counsel

  to investigate and develop an Atkins claim), where post-conviction proceedings

  provided him the first opportunity to present such claims, the State appointed counsel
  to represent him, but State-appointed counsel then failed to raise viable issues which

  would have led to relief. If there is a right to effective state habeas counsel in those
  instances where habeas is the only forum for relief for constitutional violations, then

  the answer is “yes.”




         13
                The precise question presented in Martinez v. Ryan is as follows:

         Whether a defendant in a state criminal case who is prohibited by state law from
         raising on direct appeal any claim of ineffectiveness of trial counsel, but who has
         a state-law right to raise such a claim in a first post-conviction proceeding, has a
         federal constitutional right to effective assistance of first post-conviction counsel
         specifically with respect to his ineffective-assistance-of-trial-counsel claim.


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        The Supreme Court granted certiorari in Martinez v. Ryan, No. 10-1001 on June

  6, 2011.14 Martinez (a non-capital case) presents the question of whether a criminal

  defendant has a constitutional right to the assistance of counsel with respect to claims
  that only can be raised for the first time in state habeas proceedings.15

        If Martinez recognizes a right to effective assistance of state habeas counsel, at

  least in those jurisdictions such as Texas where it is likely the only forum in which
  ineffectiveness of trial and appellate counsel can be raised, this Court should allow

  Mr. Mays sufficient opportunity to investigate and present his Atkins claim despite the

  Director’s expected position that the claim is unexhausted. In Martinez the Supreme

  Court could open the door to merits consideration of claims that were previously
  defaulted due to lack of exhaustion, either because they were not raised or raised

  inadequately. Moreover, if these cases establish such a right, it could, at a minimum,

  require that the Texas Court of Criminal Appeals revisit Ex parte Graves.




        14
               The decision below is Martinez v. Schriro, 623 F.3d 781 (9th Cir. 2010).
        15
               In Martinez, the question presented is:

        Whether a defendant in a state criminal case who is prohibited by state law from raising
        on direct appeal any claim of ineffective assistance of trial counsel, but who has a state-
        law right to raise such a claim in a first postconviction proceeding, has a federal
        constitutional right to effective assistance of first post-conviction counsel specifically
        with respect to his ineffective-assistance-of trial-counsel claim.

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                                          Claim 6

        The Eighth Amendment’s proscription of cruel and unusual
        punishment prohibits imposition of death penalty on a defendant
        who is functionally equivalent to an individual with “intellectual
        disability”, but cannot be so diagnosed merely because the onset of
        this condition occurred after age 18.

        In Atkins v. Virginia, 536 U.S. 304 (2002), the Supreme Court held that a

  mentally-retarded defendant may not be executed. Consistent with the Eighth
  Amendment, may defendant who is functionally equivalent to an individual with

  “intellectual disability” nonetheless be executed merely because the onset of this

  condition occurred after age 18? There is no meaningful distinction.
        Mr. Mays also raised this as his second and third issues on direct appeal. The
  Texas Court of Criminal Appeals declined to extend a categorical exemption from

  execution for the mentally ill. Mays v. State, 318 S.W.3d 368, 379 (Tex. Crim. App.

  2010). When he again raised the issue in his state habeas proceedings, with the

  additional benefit of Dr. Mayfield’s report, the Texas Court of Criminal Appeals,

  without discussion held that this claim was procedurally barred. Ex parte Randall

  Wayne Mays, 2011 Tex. Crim. App. Unpub. LEXIS 190 (Tex. Crim. App. March 16,

  2011). Since aspects of Mr. Mays’ mental illness were raised at a hearing on his
  habeas petition to the district court that were not presented on direct review, the Texas

  Court of Criminal Appeals improperly determined that Mays’ claim arising from his

  mental illness was decided on direct appeal and thus procedurally barred. While

  generally claims that were introduced and rejected on direct appeal are considered on
  habeas corpus review, an exception is made “…where (1) direct appeal cannot be


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  expected to provide an adequate record to evaluate the claim in question, and (2) the

  claim might be substantiated through additional evidence gathering in a habeas corpus

  proceeding.” Ex parte Nailor, 149 S.W.3d 125, 131 (Tex. Crim App. 2004), quoting

  Ex parte Torres, 943 S.W.2d 469, 475 (Tex. Crim. App. 1997) (permitting review of

  ineffective assistance of counsel claim on habeas when new evidence is presented);

  see also Ex parte Brown, 205 S.W.3d 538, 547 & n.26 (Tex. Crim. App. 2006)

  (permitting habeas review of actual innocence claim upon presentation of new

  evidence; claim rejected on the merits).

        On direct appeal, the Texas Court of Criminal Appeals rejected Mays’ claim

  that the United States Supreme Court’s decisions in Atkins v. Virginia, 536 U.S. 304

  (2002), and Roper v. Simmons, 543 U.S. 551 (2005), categorically bar his execution

  under the Eighth and Fourteenth Amendments as he suffers from severe mental illness
  and that Mays had failed to show that his mental illness was severe enough to

  diminish his moral culpability his crimes. See Mays v. State, 318 S.W.3d 368, 379-80

  (Tex. Crim. App. 2010). On direct appeal, however, the court was presented only

  with the testimony of the experts from Mays’ trial, who testified that Mays suffered
  from “severe depression and a persistent psychotic disorder not otherwise specified,”

  and from a “cronic and severe psychiatric illness.” Id. at 376. On the basis of this

  evidence, the Court concluded that “appellant has failed to show that, if he did suffer
  from some mental impairment at the time of these murders, that impairment was so

  severe that he is necessarily and categorically less morally culpable than those who

  are not mentally ill.” Id. at 380.


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        At the habeas hearing held a few months later, Dr. Mayfield pointed out a more

  specific source of Mays’ psychotic delusions, testifying that Mays suffered from
  organic brain damage potentially caused by past methamphetamine use. Because this

  newly obtained neuropsychological evidence was not available to the Court on direct

  appeal, Mays’ claim arising from his mental illness took on a different shape and was
  reviewable by the habeas court. In denying Mr. Mays’ first writ issue, the court

  simply asserted that “Neither the Texas Constitution nor the United States

  Constitution renders unconstitutional the execution of the mentally ill.” Although the
  court cited the opinion on direct appeal, it did not rely on a procedural bar in rendering
  this opinion. Thus, not only was new evidence presented on habeas review that was

  not before the Court on direct appeal, but the specific issue of whether Mays’ mental
  illness was of such severity as to make him categorically exempt from execution was
  adjudicated on the merits by the habeas court and is therefore appropriately considered

  by this Court.
        The presence of this new evidence regarding Mays’ organic brain damage puts

  into doubt the Court of Criminal Appeals’ assumption that his argument that the
  Eighth and Fourteenth Amendment categorically bar his execution was decided on

  direct appeal. Ex parte Santana, 227 S.W.3d 700 (Tex. Crim. App. 2007); Ex parte

  Rich, 194 S.W.3d 508, 512–13 & n. 9 (Tex. Crim. App. 2006).

        The Supreme Court’s death penalty jurisprudence has consistently required that

  death is reserved for the worst offenders. The Supreme Court has categorically

  restricted this category to exclude those whose culpability is diminished for various


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  reasons. See, Atkins v. Virginia, 536 U.S. 304 (2002) (mentally retarded categorically

  excluded from death penalty); Roper v. Simmons, 543 U.S. 551 (2005) (juveniles

  categorically excluded). If the penological purposes of retribution and deterrence are

  not served by imposing the death penalty on a class of offenders, the death penalty is

  not proportionate.

        The nature of certain kinds of mental illness reduces an offender’s culpability

  in the same manner that the Atkins Court held that mental retardation reduced

  culpability. Reduced culpability requires a proportionate reduction in punishment.

  The retributive purpose of the death penalty is not justified when an offender is

  mentally retarded or mentally ill, because only the most culpable offenders deserve
  a death sentence. Additionally, the attributes that reduce culpability frustrate the
  deterrent purpose of the death penalty. Individuals consistently unable to control
  impulses or learn from mistakes are unable to account for the consequences of

  criminal activity in their decision-making process. Atkins, 536 U.S. at 319. The

  offender whose mental illness is characterized by profound cognitive functioning
  impairments, is similarly immune to the deterrent effects of the death penalty.

        Subsequent to Atkins v. Virginia, 536 U.S. 304 (2002) a number of courts and

  commentators have found that its rationale should apply with equal force to those

  individuals who suffer from a severe mental illness. See State v. Ketterer (2006),111

  Ohio St.3d 70, 855 N.E.2d 48 (Lundberg Stratton , J., concurring) (“Deterrence is of

  little value as a rationale for executing offenders with severe mental illness when they

  have diminished impulse control and planning abilities.”); People v. Danks (2004), 32


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  Cal.4th 269, 322, 82 P.3d 1249 (Kennard, J. concurring and dissenting)(“The same

  mental capacities are impaired in a person suffering from paranoid schizophrenia, and

  the impairment may be equally grave.”); Bryan v. Mullin, 335 F.3d 1207(10th Cir.

  2003) (Henry, J. concurring and dissenting)(Imposition of the death penalty on

  mentally ill defendant contributes nothing to the stated goals of capital punishment,

  retribution and deterrence.); State v. Nelson, 173 N.J. 417, 493, 803 A.2d 1 (2002),

  (Zazzali, J. concurring)(“The State's legitimate penological interests that purportedly

  are served by the death penalty are unconstitutionally diminished if the State executes

  such a mentally ill and psychologically disturbed person.”); Corcoran v. State, 774

  N.E.2d 495, 502–503 (2002)(Rucker, J. dissenting)(underlying rationale for
  prohibiting executions of the mentally retarded is just as compelling for prohibiting
  executions of the seriously mentally ill).

        Scholars have argued that “there may not be any plausible reasons for
  differentiating between the execution of people with mental illness and execution of
  people with mental retardation or juveniles” Christopher Slobogin, What Atkins

  Could Mean For People With Mental Illness, 33 N.M.L. Review 293, 293 (2003).

  “[I]f anything, the delusions, command hallucinations, and disoriented thought
  process[es] of those who are mentally ill represent greater dysfunction than that

  experienced by most 'mildly' retarded individuals (the only retarded people likely to

  commit crime)”. Christopher Slobogin, Mental Illness and the Death Penalty, 1 Cal.
  Crim. L. Rev.3 (2000). 16


        16
               Available at http://www.boalt.org/CCLR/v1/v1sloboginfr.htm

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         Today there is considerable objective support for the notion that evolving

  standards of decency prohibit the execution of the severely mentally ill. The
  American Bar Association, American Psychiatric Association, American

  Psychological Association and the National Alliance on Mental Illness (NAMI) have

  issued almost identical policies calling for exemptions to the death penalty for the
  severely mentally ill.        The resolutions urge jurisdictions that impose capital

  punishment to implement policies that would prohibit imposition of the death penalty

  on those who are severely mentally ill if such persons are unable to appreciate the
  nature, consequences or wrongfulness of their conduct, are unable to exercise rational
  judgment in relation to conduct, or are unable to conform their conduct to the

  requirements of the law.17
         The Supreme Court’s rationales for banning the death penalty for the mentally
  retarded and for juveniles provide substantial support for a ban on the execution of the

  severely mentally ill.
         Mr. Mays falls within a narrow class of offenders whose severe impairments
  in cognitive functioning, not resulting from a developmental abnormality, makes them


         17
                   The American Bar Association version states, “Defendants should not be
  executed or sentenced to death if, at the time of the offense, they had a severe mental disorder or
  disability that significantly impaired their capacity (a) to appreciate the nature, consequences or
  wrongfulness of their conduct, (b) to exercise rational judgment in relation to conduct, or (c) to
  conform their conduct to the requirements of the law. A disorder manifested primarily by
  repeated criminal conduct or attributable solely to the acute effects of voluntary use of alcohol or
  other drugs does not, standing alone, constitute a mental disorder or disability for purposes of
  this provision.” Recommendations of the American Bar Association Section of Individual Rights
  & Responsibilities Task Force on Mental Disability and the Death Penalty (2005), 54
  Cath.U.L.Rev. 1115.



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  categorically less culpable and therefore ineligible to be sentenced to death. Experts

  at trial testified that he suffered from depression, persistent psychotic disorder
  characterized by paranoid and persecutory delusions and auditory hallucinations, and

  delusional thinking. (31:19-26, 36-8). Further testimony at the habeas hearing

  specified that he suffered from dementia not otherwise specified, as a result of organic
  brain damage due to chronic drug use. (HV 3:27).              These diagnoses are not

  inconsistent and demonstrate the extent to which Mays’ mental capacity was

  diminished at the time of his crime.
        Mr. Mays’ experts elaborated that his multiple diagnoses are due to his past
  methamphetamine abuse. (31:135; HV 3:26). Mr. Mays’ organic brain injury causes

  multiple cognitive deficits. But for the age of onset, which went largely undeveloped
  by his state appointed lawyers, he would classified as intellectually disabled, with an
  IQ in the 60s, severe impairments in problem solving and planning and diminished

  ability to pay attention, inhibit responses, and switch between contemporaneous and
  unrelated tasks. (HV 3:14-20). The impact of diminished cognitive functioning on

  routine, simple and concrete tasks is limited, but as situations grow more complex and
  multi-faceted, Mr. Mays’ ability to cope normally decreases rapidly. (HV 3:30).
  Additionally, increases in stress simultaneously trigger psychotic symptoms. (31:36-

  8). The substantial decline in his global cognitive functioning in combination with the

  paranoia and hallucinations which characterize his severe mental illness are directly

  relevant to his perception, processing, and reasoning abilities in high stress situations.




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  Mr. Mays, and offenders similarly afflicted, should be excluded from the death

  penalty due to their categorically lesser culpability for capital crimes.
  Severe mental illness of the kind suffered by Mr. Mays necessarily reduces an

  offender’s culpability. “The Eighth Amendment succinctly prohibits ‘[e]xcessive’

  sanctions.” Atkins supra. at 311. Under the Eighth Amendment, death can only be

  imposed on offenders with proportionate culpability. Obviously, this Court cannot

  create a categorical exception, but the issue needs to be preserved for subsequent

  review by the Supreme Court in the event this petition is not otherwise granted.
                                             Claim 7
         The trial court’s restrictions on the jury’s consideration of Mr.
         Mays’ mental deficiencies abrogated the State’s responsibility to
         prove a culpable mental state beyond a reasonable doubt in violation
         of the Sixth, Eighth and Fourteenth Amendments.

         This was raised by Mr. Mays as part of his fifth issue on direct appeal. The

  Texas Court of Criminal Appeals ruled against the state law components of this claim,

  but did not adjudicate the federal constitutional elements of this claim. Mays, 318

  S.W.3d at 380-382.18
         A Texas capital defendant has the right to an acquittal of capital murder

  charges where the evidence of an intentional or knowing mental state is insufficient
  in the minds of the jurors.         By submitting conflicting and confusing limiting

  instructions to the jury, the trial court denied Mr. Mays an adequate process to


         18
                 Mr. Mays raised his complaints about the way the trial judge instructed the jury
  regarding the culpable mental states and the use of evidence bearing on his mental health,
  invoking the Fifth, Sixth, Eighth and Fourteenth Amendments to the United States Constitution.
  CR 1204-1213. Each objection was denied by the trial court. (29:76).

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  vindicate this right as required by the Constitution of the United States. The circular

  language in the charge giving rise to these issues is as follows:
        You are further instructed that you may consider any mental condition,
        if any, of the Defendant, that he did or did not act intentionally or
        knowingly in committing the alleged offense, but you cannot consider
        any mental condition, if any, that the Defendant lacked the capacity to
        act intentionally or knowingly.
  (CR 1221). By this instruction, the trial court essentially removed the mental

  condition of Mr. Mays from the jury’s consideration.

        The trial court’s overly broad prohibition on the use of capacity evidence to
  rebut intent offended our federal constitution. The authority of a state to define rules
  for the exclusion of evidence and to apply those rules to criminal defendants, has

  constitutional limits.   “Whether rooted directly in the Due Process Clause of the
  Fourteenth Amendment or in the Compulsory Process or Confrontation Clauses of the
  Sixth Amendment, the Constitution guarantees criminal defendants ‘a meaningful

  opportunity to present a complete defense.’” Holmes v. South Carolina, 547 U. S. 319

  (2006)(quoting Crane v. Kentucky, 476 U. S. 683, 690 (1986), in turn quoting

  California v. Trombetta, 467 U. S. 479, 485 (1984) ).

        While naturally it is normally “within the power of the State to regulate
  procedures under which its laws are carried out, including the burden of producing

  evidence and the burden of persuasion,” and its decision in this regard is not subject

  to proscription under the Due Process Clause unless “it offends some principle of
  justice so rooted in the traditions and conscience of our people as to be ranked as




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  fundamental.”19 The charge here allowed the jurors to consider the condition of Mr.

  Mays’ mind, but somehow they were not to consider his capacity in deciding whether

  or not he acted intentionally or knowingly. This part of the charge offends the

  constitutional principles that underlay Boyde v. California, 494 U.S. 370 (1990). In

  Boyde, the Supreme Court, drawing on Francis v. Franklin, 471 U. S. 307 (1985) and

  Sandstrom v. Montana, 442 U. S. 510, 442 U. S. 516-517 (1979), set the legal

  standard for reviewing jury instructions claimed to restrict impermissibly a jury's

  consideration of relevant evidence: Whether there is a reasonable likelihood that the
  jury has applied the challenged instruction in a way that prevents the consideration of

  constitutionally relevant evidence.20

         Applying Boyde, the subject instruction offends federal constitutional principles

  by its ambiguity.        A reasonable juror might well have been inhibited from

  consideration of the Vail and Kessner expert mental health opinions by the prohibition
  on consideration of Mr. Mays’ capacity to form the culpable mental state. The trial

  court’s initial grant of permission to consider Appellant’s mental condition does not
  save this charge. The second part effectively nullifies the first part. At best, its
  instruction is circular, assuming any rational juror could somehow segregate a

  defendant’s “capacity” to act from his acts themselves. A reviewing court simply



         19
                 Patterson v. New York, 432 U. S. 197, 202 (1977); Speiser v. Randall, 357 U. S.
  513, 523 (1958); Leland v. Oregon, 343 U. S. 790, 798 (1952); Snyder v. Massachusetts, 291 U.
  S. 97, 105 (1934).
          20
                 Boyde does not require a defendant to establish that the jury was more likely than
  not to have been impermissibly inhibited by the instruction, nor is a capital sentencing
  proceeding inconsistent with the Eighth Amendment if there is only a possibility of such an
  inhibition.

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  cannot know which part the jury followed, and which part was not. Meaningful

  appellate review is thus defeated. This is not permissible under the constitutional

  principles set down in Penry v. Johnson, 532 U.S. 782 (2001), citing Roberts v.

  Louisiana, 428 U.S. 325, 335 (1976) (plurality opinion).

                                             PART 3

                                      OTHER CLAIMS
                                             Claim 8
         The underlying offense, as interpreted by the Texas Court of Criminal
         Appeals, is impermissibly vague and in violation of the Sixth, Eighth and
         Fourteenth Amendments.

         This was raised as the Eleventh Issue on direct appeal by Mr. Mays and was denied

  on state law grounds, but not adjudicated on federal constitutional grounds.21 Mays, 318

  S.W.3d 388-389.
         The guilt phase aggravator that elevated the charge from murder to capital murder was

  taken from Texas Penal Code 19.03(a)(1). As submitted to the jury, the charge read as

  follows: “...and the said Tony Ogburn was then and there a peace officer who was acting in

  the lawful discharge of an official duty, to-wit: attempting to arrest or detain the Defendant,

  and the Defendant knew Tony Ogburn was a peace officer, then you will find the Defendant
  guilty of the offense of Capital Murder as charged in the indictment, and so say by your

  verdict.” CR 1220-1221
       Aggravating factors must “genuinely narrow the class of death-eligible persons" in a
  way that reasonably "justifies the imposition of a more severe sentence on the defendant


         21
                 Mr. Mays timely raised his complaints about this guilt phase aggravator, in his
  oral motion for a directed verdict and by a series of charge objections. (27:238-239; CR 1204-
  1205).

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  compared to others found guilty of murder.” Zant v. Stephens, 462 U.S. 862, 877 (1983). On

  their face, and as applied, aggravating circumstances must permit the sentencer to make a

  “principled distinction between those who deserve the death penalty and those who do not.”

  Lewis v. Jeffers, 497 U.S. 764, 774 (1990); see also Richmond v. Lewis, 506 U.S. 40, 46

  (1992)("a statutory aggravating factor is unconstitutionally vague if it fails to furnish

  principled guidance for the choice between death and a lesser penalty"); Clemons v.

  Mississippi, 494 U.S. 738, 758 (1990)("invalid aggravating circumstance provided "no

  principled way to distinguish the case in which the death penalty is imposed, from the many

  cases in which it was not "); Maynard v. Cartwright, 486 U.S. 356 (1988) ("[t]he

  construction or application of an aggravating circumstance is unconstitutionally broad or
  vague if it does not channel or limit the sentencer's discretion in imposing the death

  penalty").

         In Maynard v. Cartwright, supra, the Supreme Court unanimously set out the legal

  principles which control vagueness claims directed at an aggravator. In addressing the

  validity of a death sentence based solely on the statutory aggravating circumstance that the

  murder was "especially heinous, atrocious and cruel," the Maynard court reasoned that an

  Eighth Amendment vagueness challenge to an aggravating factor in a capital case may not
  be analyzed under the "as-applied" approach used in vagueness challenges to criminal

  statutes under the Due Process Clause. 486 U.S. at 361.
         An Eighth Amendment challenge requires that reviewing court to conduct its review

  in several steps. First, the reviewing court must evaluate the challenged aggravating
  circumstance on its face, entirely apart from the facts of the particular case in which it was
  applied. An over broad aggravating circumstance vests in sentencing courts the “open-ended

  discretion” to impose the death penalty which the Supreme Court condemned in Furman v.

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  Georgia, 408 U. S. 238 (1972). Where a death sentence is imposed under a system that

  permits unbridled discretion, the state may not save the sentence by demonstrating that the

  outcome would have been the same even if the sentencer's discretion had been properly

  narrowed and guided. Maynard, 486 U.S. at 361-363.

         Secondly, even if the text of a statutory aggravating circumstance does not provide

  meaningful guidance to a capital sentencing jury, such an aggravating circumstance can
  nevertheless support a death sentence if the state courts have narrowed its scope to a
  constitutionally sufficient degree. Finally, the reviewing court must determine whether such

  a narrowing construction actually guided the sentencing jury in the case under review.

  Godfrey v. Georgia, 446 U.S. 420 (1980); see also Walton v. Arizona, 497 U.S. 639

  (1990)(recognizing the authority of a state reviewing court to supply a limiting definition of

  a facially over broad or vague aggravating circumstance).22

         The decisions in Maynard and Zant assume that a state reviewing court will interpret

  an arguably vague aggravator so as to clarify its meaning and narrow its scope in such a way
  that the statutory scheme will meet the demands of the Supreme Court’s Eighth Amendment

  jurisprudence. What has occurred here is beyond what was contemplated in these two

  Supreme Court cases. In Texas, in practice, the modifier “lawful” has been judicially

  removed as an element of the offense that the state must prove. Montoya v. State, 744

  S.W.2d 15 (Tex.Crim. .App.1987)(“ ... as long as the officer was acting within his capacity
  as a peace officer, he was acting within the lawful discharge of his official duties ... “);


         22
                  The Supreme Court has also recognized that aggravating circumstances cannot
  encompass factors “that actually should militate in favor of a lesser penalty, such as perhaps the
  defendant's mental illness.” Zant v. Stephens, 462 U.S. at 885, citing Miller v. Florida, 373
  So.2d 882, 885-886 (Fla.1979). If the aggravating circumstance at issue is invalid for reasons
  such as these, due process of law would require that the jury's decision to impose death be set
  aside. Id.


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  Guerra v. State, 771 S.W.2d 453 (Tex.Crim.App.1988); Hughes v. State, 897 S.W.2d 285

  (Tex.Crim.App.,1994).

         In Montoya, Guerra and Hughes, the Court of Criminal Appeals has refused to define

  and narrow the quoted statutory language. Instead, by judicial fiat, deleting the word
  “lawful,” that court has enlarged the breadth of this aggravator broader and rendered it more

  vague than did the legislature. The effect of this interpretation of Texas Penal Code 19.03
  Section (a)(1) is that no amount of abuse of office, departure from accepted professional
  norms, recklessness, negligence, or outright criminality on the part of a peace officer will

  serve to prevent the state from seeking and obtaining a death verdict in a Texas capital trial
  for the murder of an officer.

         Texas Penal Code 19.03(a)(1), as interpreted by the Texas Court of Criminal Appeals,

  is facially unconstitutional for failure to limit the scope of the aggravator to the ordinary and

  commonly accepted core meaning of “lawful.” Further, a rational juror might well have
  deemed the officer’s decision and efforts to arrest and detain Mr. Mays reckless or negligent

  rather than “lawful” under the facts and circumstances of this case, such that this subsection

  of the Texas Penal Code 19.03, if not facially invalid, was unconstitutional as it was applied.

         Put simply, this subsection, as interpreted by this court, exposes the killer of a rogue
  cop engaging in the very worst on-the-job conduct imaginable to the death penalty, whereas

  the killer of the very best performing and most ethical soldier, cab driver, journalist,

  paramedic, nurse, doctor, teacher, engineer or accountant cannot receive death as a penalty
  by reason of the status of his victim. Without a requirement that the peace officer act within
  the core meaning of the word “lawfully”, it is simply irrational to afford a just anyone
  working as a peace officer whatever extra protection is afforded by extending the death

  penalty to his or her killer.

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         Applying the Maynard/Zant analysis to this subsection, as interpreted and applied by

  the Texas courts, there is an impermissibly vague and therefore harmful statutory aggravator.

  The use of the word “lawful” in this context begs for explanation. Unlawful could mean
  anything from the tiniest infraction in the rules of engagement with a suspect to the murder,
  rape, robbery or kidnap of the suspect. That is too broad and too controversial a concept to

  use in an effort that is supposed to reduce arbitrariness to a constitutional minimum.

         The Supreme Court decision in County of Sacramento v. Lewis, 523 U.S. 833 (1998)

  demonstrates how broad is the meaning of the word lawful as it applies to police conduct.

  In finding that a police officer did not violate the Fourteenth Amendment standards of
  reckless or deliberate indifference in the context of injuries to a third party resulting from a

  high speed chase, the court deferred to the judgment of the officer who was required to make

  split second decisions that could make the difference between life and death. The Lewis

  court rejected the notion that Lewis’s death resulted from an abuse of executive power so

  clearly unjustified by any legitimate objective of law enforcement as to be barred by the

  Fourteenth Amendment. Cf. Collins v. Harker Heights, 503 U.S. 115, 126 (1992) (noting that

  the Due Process Clause was intended to prevent government officials “ ‘from abusing [their]

  power, or employing it as an instrument of oppression’ ”) (quoting DeShaney v. Winnebago

  County Dept. of Social Servs., 489 U.S. 189, 196 (1989) (quoting Davidson v. Cannon, 474

  U.S. 344, 348 (1986)).

         The Lewis court reviewed its precedents that decline to impose federal civil liability

  on police officers found guilty of ordinary negligence, and turned to the closer question of
  culpability falling within the middle range, following from something more than negligence
  but less than intentional conduct, such as recklessness or gross negligence. In this middle

  range of cases, where the facts demonstrate extended opportunities to do better combined

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  with protracted failure even to care, indifference may be deemed truly shocking and therefore

  actionable. Lewis, supra.

         The Lewis decision demonstrates that the notion of lawfulness as regards police

  conduct has such a broad connotational range that it renders the aggravator at issue here
  unconstitutional.

         The Texas rule permits a very broad range of police misconduct to serve as an
  aggravator in capital cases. This Texas rule afforded the prosecution a great and unfair
  advantage at Mays’ trial. The prosecutor argued with all the force and prestige of his office

  and position, that misconduct by the police does not matter, no matter how provocative or

  how far at variance with the prevailing professional norms of the officers involved. (29:102)

         When applying the second Maynard step, an examination of the state court’s efforts

  to save the aggravator with a narrowing interpretation of it, there is none. The Texas courts

  decline to clarify or narrow the meaning of “lawful” as used in this subsection, in a way that

  will reduce arbitrariness in the imposition of death as a penalty. The mere status of a murder
  victim as a peace officer on duty, without more, cannot serve to elevate the crime to a capital

  offense.
         A claim for facial invalidity of this aggravator requires no evidentiary support. The

  claim that this aggravator is vague and improper as it was applied to him requires only some
  evidence that might persuade a reasonable juror that there is a reasonable doubt that the
  officers acted recklessly or negligently as opposed to lawfully. However, the question is

  begged, “Were the actions of law enforcement on the Mays’ property ‘lawful’?”
         The officers’ conduct was at variance from the lawfully established protocols in the
  moments leading up to the shooting, and thus unlawful. Experienced and ranking Texas

  peace officers are required to know the rules of engagement in crisis situations. By statute,

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  they are required to take Crisis Intervention Training. TEX. OCCUP. CODE 1701.253. The
  state agency responsible for providing peace officer training is the Texas Commission on

  Law Enforcement Officer Standards and Education. The training material for Texas Crisis
  Intervention Training, Course 3841, was admitted into evidence as Defendant’s Exhibits 1

  and 2. Through cross examination, counsel for Mr. Mays informed the jury that one of the
  regular officers abruptly and inexplicably abandoned his state-mandated crisis intervention
  training at the very moment that a highly trained standoff negotiator was about to make it

  work. In the words of defense counsel, “This did not have to happen.” (32:38). Perhaps
  well intended, the behavior of the responding peace officers was, at critical times, grossly

  deficient in light of the gravity of their official duties. This deficient behavior contributed

  mightily to this terrible tragedy.
         The training material, Defendant’s Exhibit 1, served to inform the jurors of the

  prevailing professional norms with respect to “stand off” situations such as the one here. It

  was the textbook for this scenario, and it was ignored. In light of the high standards Texas
  has set for officers confronting crisis situations, and the gravity of the situation at hand, a

  reasonable juror, properly instructed, might well conclude that just a little more caution,

  patience, understanding, respect, honesty, and sincerity was required in this tragic crisis

  situation, and that the conduct of the officers was reckless or negligent, rather than lawful.




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                                               Claim 9

         Mr. Mays’ Sixth, Eighth and Fourteenth Amendment rights were
         violated because the Texas death penalty statute impermissibly
         placed the burden of proving the mitigation issue on Mr. Mays,
         rather than requiring the State to prove the absence of mitigating
         factors beyond a reasonable doubt.23

         Mr. Mays preserved and raised this issue at trial on direct appeal.24 The trial

  court overruled the claims, and the Texas Court of Criminal Appeals found the

  argument foreclosed by precedent. Mays, 318 S.W.3d at 397.

         The primary thrust of the mitigation case was that Mr. Mays was mentally ill,

  delusional, and suffered paranoid ideations. Mr. Mays also presented evidence of his
  abused upbringing, his struggle with substance abuse and methamphetamine
  addiction. Further, he presented friends and family that described his good demeanor

  through the years. Naturally, the State disputed the existence and severity of his

  mental illness.
         Supreme Court jurisprudence holds that the right to present mitigating evidence

  and to rebut aggravating evidence can only be vindicated with a rational process, one
  that will permit a reasoned moral response to the body of evidence before the jury. See

  Simmons v. South Carolina, 512 U.S. 154 (1994)(right to inform the sentencing jury

  that the capital defendant will never parole.) The Supreme Court has continually


         23
                  This claim has been foreclosed by circuit precedent. It is presented here in the
  event that the Supreme Court changes existing law and applies the changes retroactively.
         24
                  See, the objections numbered 13, 22 and 27 to the trial court’s refusal to assign to
  the state the burden of proof and persuasion with respect to the ultimate mitigation issue in the
  punishment charge and the facts adverse to Appellant’s mitigation case. CR 001241, 001246,
  001248. Mr. Mays invoked provisions of the federal constitution. CR 001253. The trial court
  overruled Appellant’s charge objections before reading the charge to the jury. CR 001254.

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  sought to verify that States' capital procedures provide a "rational basis" for

  predictably determining which defendants shall be sentenced to death. Furman. v

  Georgia, 428 U.S. 153, 294 (1976)(Brennan, J., concurring). See also Spaziano v.

  Florida, 468 U.S. 447, 460 (1984); Barclay v. Florida, 463 U.S. 939, 960 (1983)

  (Stevens, J., concurring in judgment)("A constant theme of our cases . . . has been
  emphasis on procedural protections that are intended to ensure that the death penalty

  will be imposed in a consistent, rational manner"); McCleskey v. Kemp, 481 U. S. 279,

  323 !987)(Brennan, J., dissenting) ("[C]oncern for arbitrariness focuses on the

  rationality of the system as a whole, and . . . a system that features a significant
  probability that sentencing decisions are influenced by impermissible considerations

  cannot be regarded as rational"). States may satisfy Furman's demands – providing

  objective standards to ensure that the sentencer's discretion is "guided and channeled

  by . . . examination of specific factors." Proffitt v. Florida, 428 U.S. 242, 258 (1976)

  (opinion of Stewart, Powell, and Stevens, JJ.).

        The assignment of the burden of proof and persuasion is at the very foundation
  of our traditional adversarial system of justice that informs our understanding of the

  very meaning of due process, yet Texas refuses to do that. Assignment to the State

  of the burden of proof and persuasion of the facts that must be established in order for

  the State to achieve its objectives is one of the hallmarks of our criminal justice
  system. Texas refuses to do that. The Texas system simply is not a rational one; it

  cannot stand constitutional muster.




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        This proceeding without rules permits the jury members to assign the burden

  of proof and persuasion, in the jury room, in secret, if they wish, after the presentation
  of evidence, and the argument of counsel. Some jurors may assign the burden of

  proof of the sufficiency of mitigating circumstances to the capital defendant, then

  take another look at the bloody crime scene photos, the autopsy photos, or the pictures
  of the victims during life, and set the burden of persuasion at beyond all doubt.

  Conversely, law abiding and conscientious jurors may assign to the state the burden

  of persuasion as to facts adverse to the capital defendant at a level of one per cent
  certainty.
        The “no burden of proof” system invites arbitrariness.          Mr. Mays offered

  credible mitigating evidence relevant to the mitigation special issue. Completely
  within their oaths to render a true verdict according to the law given them by the

  judge, the jurors could have required that he prove his mitigating circumstances
  beyond all doubt, beyond a reasonable doubt, by clear and convincing evidence, or

  according to some standard unknown to our law.
        The State should bear the burden of proof with respect to the mitigation special
  issue to establish the lack of a sufficient mitigating circumstance beyond a reasonable

  doubt. Because of the heightened reliability requirement in capital sentencing, only
  the reasonable doubt standard can adequately impress upon the jury the significance

  and solemnity of their decision between life and death. “The function of a standard

  of proof, as that concept is embodied in the Due Process Clause and in the realm of

  factfinding, is to ‘instruct the factfinder concerning the degree of confidence our


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  society thinks he [or she] should have in the correctness of the factual conclusions for

  a particular type of adjudication.’” Addington v. Texas, 441 U.S. 418, 423 (1979)

  (quoting In re Winship, 397 U.S. 358, 370 (1970) (Harlan, J., concurring)). The

  beyond a reasonable doubt standard is “indispensable” to due process, because “it

  impresses on the trier of fact the necessity of reaching a subjective state of certitude

  of the facts in issue.” In re Winship, 397 at 364 (internal quotation marks and citation

  omitted). As Justice Harlan wrote in Winship:

        In this context, I view the requirement of proof beyond a reasonable
        doubt in a criminal case as bottomed on a fundamental value
        determination of our society that it is far worse to convict an innocent
        man than to let a guilty man go free. It is only because of the nearly
        complete and long-standing acceptance of the reasonable-doubt standard
        by the States in criminal trials that the Court has not before today had to
        hold explicitly that due process, as an expression of fundamental
        procedural fairness, requires a more stringent standard for criminal trials
        than for ordinary civil litigation.
  Id. at 372 (Harlan, J., concurring) (footnote omitted).
        Furthermore, the lack of a standard of proof and an assignment of the burden

  with respect to the mitigation special issue raises the problem of unfettered and open-

  ended jury discretion with respect to capital sentencing. See Furman v. Georgia, 408

  U.S. 238 (1972). As such, a jury may require the State to prove that the mitigation
  special issue should be answered no beyond a reasonable doubt just as easily as it

  might require the defendant to prove beyond all possible doubt that mitigating

  circumstances exist. The latter scenario, though entirely possible under the current

  framework, would offend most sensibilities and notions of fair play and would likely




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  be found unconstitutional. The level of capriciousness and arbitrariness possible

  under the current system violates the Eighth Amendment.
        Mr. Mays requests the Court to take up and reconsider this issue so as to

  restore the traditional adversarial process to Texas’ capital mitigation hearings by

  making a clear and proper assignment to the parties burdens of proof and persuasion
  in the manner suggested above. He does, however, recognize that the Fifth Circuit has

  held that "[n]o Supreme Court or Circuit precedent constitutionally requires that

  Texas's mitigation special issue be assigned a burden of proof." Rowell v. Dretke, 398

  F.3d 370, 378 (5th Cir. 2005). See also, Druery v. Thaler, 647 F.3d at 546.
                           CONCLUSION AND PRAYER

        Mr. Mays submits that his case should be reversed as to punishment; and prays
  that this Honorable Court afford him an evidentiary hearing; and, that upon such

  consideration that the Court issue a writ of habeas corpus vacating his unlawfully
  obtained sentence of death; allow him a constitutionally sufficient period within which

  to file such amendments to this Petition as may be necessary to bring all proper
  matters before this Court and avoid unnecessary piecemeal litigation of his challenges
  to the legality of his conviction and sentence; grant him full and complete discovery

  pending such evidentiary hearing; and for such other and further relief as may be just
  and proper.




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                                                 Respectfully submitted,

                                                /s/   Thomas Scott Smith
                                             By:________________________________
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                                    CERTIFICATE OF SERVICE

  I hereby certify that I have served a true and correct copy of this Petition for Writ of Habeas Corpus
  upon counsel for Office of the Attorney General of Texas, P.O Box 12548, Austin, Texas 78711-
  2548, by placing electronic delivery, to the above address, this March 3, 2012.

                                                 /s/        Thomas Scott Smith
                                                 _____________________________________
                                                 Thomas Scott Smith




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                                  APPENDIX OF EXHIBITS


  1.    Smith County Jail Records Relating Organic Brain Injury

  2.    Report of Paul Andrews, Ph.D.

  3.    Report of Joan Mayfield, Ph.D.

  4.    Court’s Charge on Punishment

  5.    Kemp I.S.D. School Records

  6.    Eustace I.S.D. School Records

  7.    1983 Civil Commitment

  8.    Terrell State Hospital Records

  9.    Excerpts from Juror Interview Denson

  10.   Excerpts from Juror Interview Anderson




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